          Case 2:19-cv-02208-EEF-DMD Document 50 Filed 08/02/19 Page 1 of 1



   MINUTE ENTRY
   FALLON, J.
   AUGUST 2, 2019

                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


   AUTUMN MONTGOMERY                                                           CIVIL ACTION

   VERSUS                                                                      NO. 19-2208

   WAITR HOLDINGS INC.                                                         SECTION "L" (3)


          A telephone status conference was held on this date from the Chambers of Judge Eldon E.

   Fallon. Christopher Zaunbrecher participated on behalf of Plaintiffs. Erin Pelleteri participated on

   behalf of Defendant. The parties discussed the status of the case. Accordingly,

          IT IS ORDERED that a telephone status conference is hereby SCHEDULED for

   September 10, 2019 at 8:30 a.m. The Court will initiate the call.




JS10 (00:05)
